This is a proceeding in error brought to reverse a judgment of the Court of Common Pleas of Butler county in favor of a claimant under the Workmen's Compensation Act (Section 1465-37 et seq.,
General Code), whose claim had been denied by the Industrial Commission of Ohio.
It is urged by the plaintiff in error, the Industrial Commission, that there was no injury causing the incapacity of which the defendant in error, Carl A. Hineline, now complains.
It is necessary to quote from the record to properly meet this contention:
"Q. Did you observe any accident or injury to Mr. Hineline on October 8th, 1929?
"Mr. Williams: Observation means see.
"Mr. Hoffer: Tell the Referee whether or not you, well, go ahead and tell the Referee what you observed *Page 51 
and what you saw with reference to an injury to Mr. Carl Hineline.
"A. Well, I happened to be almost in front of the press, just reaching up for the work, and I happened to glance at him, and the man was as pale as a ghost. He had a 64-inch roll in there that would weigh a good half a ton, maybe more, and it got away from him and he was still holding that roll of paper. I went over there and placed the roll up and took it off his shoulder. As near as I could see him under the roll, and the truck had kind of got away from the roll of paper. When I straightened up I did not think he was hurt much. I asked him how he was; he was breathing kind of hard, and he said he was hurt, had a pain in his chest along in here (indicating). I did not think an awful lot of it for a little bit, and I don't know just how long afterward, but shortly afterward, he said he could not work any longer. I was short of men and asked him if he would continue to work the rest of the night, which he did do, or tried to do; he did not make out up to the time. I think I had Red Hizer, I don't know his first name, but I had him take him to the doctor's and he came back and went home, he could not finish out the night. But since that time we have tried to have him work several times, but he just could not stand where we would get a pull or a lift. He was done. I know he lost a lot of time until we closed the plant.
"Q. Tell whether or not there was anything else he told you right at the time other than he hurt himself. Did he press his hands upon his chest? A. Well, as near as I can remember the man when he straightened up, when I got to the roll, he did not fall down to the floor, the roll fall on him or anything like that, the roll was on straight, but after I got to the roll, just walked back to the man, I don't know whether he had his hands on his chest or not. I could not swear to that, but he could *Page 52 
just about stand up and that was all, and he was very, very pale.
"Q. Now will you state in detail exactly what you saw? A. Well, as near as I can remember Hineline must have lifted the roll — got it up — whether the truck got away from him or whether it slipped out of his hands or whether the roll slipped off, I do not know, but as near as I can remember the roll was laying back on Hineline and he was barely holding that roll. It is a known fact, any truck man will tell you in handling a roll, if it is balanced, it is very easy to handle, but if you get it off balance no matter how strong he is he cannot handle it."
Whether or not there was an accidental injury — that is, an injury caused by an accident, as distinguished from a disease — is a question of fact for the jury.
Certainly there is in the portion of the record quoted sufficient to show an injury and that it was caused by something more unusual than the ordinary incidents of the man's occupation. The slipping of the roll was an accident, and the medical testing indicates that his present condition could be due to the sudden strain put upon him.
In the case of Industrial Commission v. Franken, 126 Ohio St. 299, at pages 300 and 301, 185 N.E. 199, the court say: "The record discloses that Franken had been in the employ of the Ohio State Stove Company for nineteen years as a `pressman'; his particular task being to handle dies, which weighed from twenty-five to four hundred pounds, an apparatus being provided and used to handle those which were too heavy to be lifted otherwise. No `accident' occurred, as that term is ordinarily understood and applied. Some time during the day above mentioned Franken made some complaint about not feeling well and quit work and went home. He died twenty-five days later, his trouble being diagnosed as heart failure. At the *Page 53 
time he quit work he complained of indigestion. The record discloses that upon arriving home he had pains through his chest, and the doctor later stated that he was suffering from an acute dilation of the heart. There is no evidence whatever of any extraordinary or unusual happening in and about Franken's work preceding his illness. There is some evidence that on the day in question he had handled a die weighing three hundred pounds, but it does not appear that handling a die of that weight with the apparatus provided was any more strenuous than lifting by hand a die weighing thirty-five or forty pounds. The physician testified that in his opinion the heart condition described was caused by `some severe muscular strain.'"
The facts in the instant case are obviously different from those in the Franken case, and wholly unlike those in IndustrialCommission v. Middleton, 126 Ohio St. 212, 184 N.E. 835.
There was evidence justifying the jury in concluding that an accident occurred, that this resulted in immediate injury to the complainant, and that such injury was the cause of the incapacity for which he now makes claim for compensation and that it occurred during the course of and by reason of his employment. Such a state of the record requires that the judgment be affirmed, and our conclusion is, therefore, to this effect.
Judgment affirmed.
HAMILTON, P.J., concurs. *Page 54 